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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                        PLAINTIFF

VS.                        CASE NO. 16-50032-001

SANTIAGO SALINAS,
a/k/a “Chuco”                                                   DEFENDANT

             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3),

Local Rule 72.1 ¶ XII, and General Order No. 40, this matter was

referred to the undersigned for the purposes of conducting a plea

hearing pursuant to Rule 11 of the Federal Rules of Criminal

Procedure.      Such a hearing was conducted on August 15, 2016, and,

pursuant to a written plea agreement, the Defendant, Santiago

Salinas, entered a plea of guilty to Count Four of the Indictment,

charging him with distributing fifty (50) grams or more of a

mixture    or     substance     containing     a    detectible      amount     of

methamphetamine,     in    violation    of   21    U.S.C.   §    841(a)(1)   and

(b)(1)(B)(viii). The written plea agreement provides that if it is

accepted, once the Court has pronounced sentence, the Government

will move to dismiss the remaining counts of the Indictment, as

well as the forfeiture allegation against the Defendant                     After

conducting the hearing in the form and manner prescribed by Rule

11, the undersigned finds:

      1.    The Defendant, after consultation with his counsel, has

knowingly and voluntarily consented, both in writing in the plea
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agreement and on the record at the hearing, to the entry of his

guilty plea before the undersigned, with the plea being subject to

final approval by United States District Judge Timothy L. Brooks.

      2.    The Defendant and the Government have entered into a

written plea agreement which has been disclosed in open court

pursuant to Rule 11(c)(2), and the undersigned has directed that

the plea agreement be filed.

      3.    The Defendant is fully competent and capable of entering

an informed plea; the Defendant is aware of the nature of the

charges, the applicable maximum penalties, and the consequences of

the plea; the Defendant is fully satisfied with his counsel and has

had sufficient time to consult with him; and the plea of guilty is

a knowing and voluntary plea supported by an independent basis in

fact containing each of the essential elements of the offenses.

      4.    The   Defendant     understands     his     constitutional      and

statutory rights and wishes to waive these rights.

      5.    The parties were informed, both in writing in the plea

agreement and on the record at the hearing, of their right to file

written objections within fourteen (14) days after receipt of this

Report and Recommendation.        To expedite acceptance of the guilty

plea, the parties waived, both on the record and in writing in the

plea agreement, their right to file objections.

      Based on the foregoing, the undersigned recommends that the

guilty plea be accepted and that the written plea agreement be

tentatively approved, subject to final approval at sentencing.
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      DATED this 15th day of August, 2016.



                                       /s/ Erin L. Setser
                                         HON. ERIN L. SETSER
                                         UNITED STATES MAGISTRATE JUDGE
